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CLEHK, U 3 i"l‘SiifiE`i' COURT
W)D Cl_°: E',§iiipl‘lig

 

UN|TED STATES OF A|ViEFiiCA,
P|aintiff,
VS. CR. NO. 04-20442-5

GAHLAND |V|ANCE,

--_d\_l\_r-._r~`_¢'-..z'--_d\_¢-._r\...r

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came to be heard on Ju|y 6, 2005, the United States Attorney for this district,
Fiae Oliver, appearing for the Government and the defendant, Gar|and l\§iance, appearing in person, and
with counsei, Eugene Laurenzi, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts 1 and 2 of the lndictment.

Piea colloquy was held and the Court accepted the guilty p|ea.

SENTENCING in this Case iS SET for WEDNESDAY, OCTOBER 19, 2005, at 1:30 P.M.,
in Courtroom No. 1, on the 11‘h floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

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ENTERED this the[_‘_l_ day of July, 2005.

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J. DANlEL`BREEN
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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
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July 19, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

